 1 Martha G. Bronitsky
     Chapter 13 Standing Trustee
 2 Po Box 5004
     Hayward,CA 94540
 3
     (510) 266- 5580
 4
     Trustee for Debtor(s)
 5
                                  UNITED STATES BANKRUPTCY COURT
 6                                NORTHERN DISTRICT OF CALIFORNIA
 7
   In Re
        Cynthia Marie Howard                             Chapter 13 Case Number:
 8
                                                         17-41281-WJL13
 9
                                          Debtor(s)
10 MOTION TO DISMISS OR CONVERT CHAPTER 13 CASE FOR FAILURE TO MAKE
                                               PLAN PAYMENTS
11
     TO THE DEBTOR(S) AND DEBTOR(S)' ATTORNEY:
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     Martha G Bronitsky, Chapter 13 Standing Trustee, requests an Order Dismissing or Converting this case
13
     pursuant to 11 U.S.C. Section 1307(c) upon the grounds that the debtor(s) is in material default for the
14
     following reasons:
15
     1. YOU ARE IN DEFAULT UNDER YOUR CHAPTER 13 PLAN.
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         As of March 26, 2018 you should have paid a total of $29,436.00 to the Chapter 13 Trustee.
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     According to the Trustee’s records, you are in default in the amount of $2,610.00. The default amount
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     includes the current's month payment. Payments must be current until this Motion is resolved.
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     2. In order to continue to receive protection of the United States Bankruptcy Court : YOU MUST bring the
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     case current by paying in certified funds to the Trustee in the amount of $2,610.00 within 21 days of the
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     date of this notice.
22
     3. Unless you pay the default amount, as provided in paragraph 2 above, twenty-one (21) days from the
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     date of this notice, YOUR CASE SHALL BE IMMEDIATELY DISMISSED OR CONVERTED
24
     WITHOUT ANY FURTHER NOTICE OR HEARING
25

26

27
     Dated: March 26, 2018                              /s/ Martha G. Bronitsky
                                                        Signature of Martha G. Bronitsky
28                                                      Chapter 13 Standing Trustee
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 1    In re                                             Chapter 13 Case No.
              Cynthia Marie Howard
 2                                                      17-41281-WJL13
                                debtor(s)
 3
                                       CERTIFICATE OF SERVICE
 4
      I HEREBY CERTIFY that I have served a copy of the within and foregoing document on the
 5    debtor (s), counsel for debtor (s), and if applicable, the creditor, creditor representatives and
      the registered agent for the creditor by depositing it in the United States mail with first class
 6    postage attached thereto.
 7

 8                                                      Nathan D Borris Atty
                                                        1380 A Street
 9    Cynthia Marie Howard                              Hayward,CA 94541

10    26937 Hayward Blvd #223                           (Counsel for Debtor)
      Hayward,CA 94542
11
      (Debtor(s))
12

13

14    I delcare under penalty of perjury under the law of the State of California that the foregoing is
      true and correct.
15

16

17    Date: March 26, 2018                            /s/ Colleen Cazadamont
                                                      Colleen Cazadamont
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